
39 So.3d 523 (2010)
Shaneka Sharon JOHNSON, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-3409.
District Court of Appeal of Florida, Fifth District.
July 9, 2010.
James S. Purdy, Public Defender, and Leonard R. Ross, Assistant Public Defender, Daytona Beach, for Appellant.
No Appearance for Appellee.
PER CURIAM.
AFFIRMED without prejudice for the Public Defender to file a Rule 3.800(a) Motion To Correct Illegal Sentence, alleging entitlement to further jail credit.
GRIFFIN, PALMER and JACOBUS, JJ., concur.
